Case: 24-1504     Document: 63     Page: 1    Filed: 11/18/2024




            NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                   ______________________

                 In Re UNITED STATES,
                   Defendant- Appellant
                  ______________________

                         2024-1566
                   ______________________

    Appeal from the United States Court of International
 Trade in No. 1:21-cv-00288-SAV, Judge Stephen A. Vaden.
              -------------------------------------------------

                         CVB, INC.,
                      Plaintiff-Appellant

                              v.

                     UNITED STATES,
                     Defendant-Appellee

     BROOKLYN BEDDING, LLC, CORSICANA
   MATTRESS CO., ELITE COMFORT SOLUTIONS,
      FXI, INC., INNOCOR, INC., KOLCRAFT
   ENTERPRISES, INC., LEGGETT & PLATT, INC.,
      INTERNATIONAL BROTHERHOOD OF
    TEAMSTERS, UNITED STEEL, PAPER AND
     FORESTRY, RUBBER, MANUFACTURING,
   ENERGY, ALLIED INDUSTRIAL AND SERVICE
   WORKERS INTERNATIONAL UNION, AFL-CIO,
                 Defendants-Appellees
               ______________________
Case: 24-1504     Document: 63     Page: 2    Filed: 11/18/2024




 2                                                    IN RE US




                         2024-1504
                   ______________________

    Appeal from the United States Court of International
 Trade in No. 1:21-cv-00288-SAV, Judge Stephen A. Vaden.
                  ______________________

 Before REYNA, Circuit Judge.

                          ORDER
     Upon consideration of the parties’ joint stipulation of
 voluntary dismissal of Appeal No. 2024-1504, pursuant to
 Federal Rule of Appellate Procedure 42(b), ECF No. 60, and
 CVB, Inc.’s notice that it will not be participating in the
 United States’s cross-appeal, Appeal No. 2024-1566, ECF
 No. 61,
     IT IS ORDERED THAT:
      (1) Appeal No. 2024-1504 is dismissed. The revised of-
 ficial caption and short caption for Appeal No. 2024-1566
 are reflected in this order.
    (2) Each side shall bear its own costs in Appeal No.
 2024-1504.
    (3) The parties’ briefs will not be transmitted to the
 merits panel assigned to Appeal No. 2024-1566.
     (4) Within 14 days from the date of entry of this order,
 the United States is directed to submit a revised brief in
 Appeal No. 2024-1566 that shall be revised only to the ex-
 tent that it reflects the revised caption and omits those por-
 tions of its original brief addressing CVB’s arguments. The
 appendix is also due within that time.
     (5) Following submission of the revised brief and ap-
 pendix, Appeal No. 2024-1566 will be ready for assignment
 to a merits panel.
Case: 24-1504    Document: 63     Page: 3   Filed: 11/18/2024




 IN RE US                                                 3



     (6) The Clerk of Court is directed to forward a copy of
 this order to the merits panel assigned to Appeal No. 2024-
 1566.
                                             FOR THE COURT




 November 18, 2024
      Date



 ISSUED AS A MANDATE (as to Appeal No. 2024-1504
 only): November 18, 2024
